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 9
                            UNITED STATES DISTRICT COURT
10
                          SOUTHERN DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,              Case No. 18-CR-4683-GPC
12
               Plaintiff,                   I N F O R M A T I O N
13        v.                                   (Superseding)
     JACOB BYCHAK (1)
14   MARK MANOOGIAN (2), and                18 U.S.C. §1037(a)(5) and (b)(3)
15   ADBUL MOHAMMED QAYYUM, (3)             Electronic Mail Fraud
                                            18 U.S.C. §2 – Aiding and Abetting
16              Defendants.

17
          The United States Attorney charges that:
18
                                        COUNT 1
19

20        On or about between December 2010 and September 2014, within
21 the Southern District of California, defendants JACOB BYCHAK and

22
     MARK MANOOGIAN conspired together and with others to knowingly and
23
     falsely represent themselves to be the registrant and legitimate
24
     successor in interest to the registrant of 5 or more Internet
25

26 Protocol addresses, and intentionally initiate the transmission of

27 multiple commercial electronic mail messages from such addresses,

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     in and affecting interstate commerce, in violation of 18 U.S.C.
 1
     §1037(a)(5) and (b)(3), a misdemeanor.
 2

 3                                       COUNT 2
 4
            On or about between December 2010 and September 2014, within
 5
     the Southern District of California, defendant ABDUL MOHAMMED
 6
     QAYYUM did knowingly and falsely represent himself to be the
 7
     registrant and legitimate successor in interest to the registrant
 8
 9 of   5    or   more   Internet   Protocol   addresses,    and   intentionally

10 initiate the transmission of multiple commercial electronic mail

11 messages       from   such   addresses,     in   and   affecting   interstate
12
     commerce, in violation of 18 U.S.C. §1037(a)(5) and (b)(3), and 18
13
     U.S.C. §2, a misdemeanor.
14

15 DATED: June 8, 2022              Respectfully submitted,
16                                  RANDY S. GROSSMAN
                                    United States Attorney
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18
                                    Melanie K. Pierson
19                                  Assistant United States Attorney
20                                  /s/Sabrina L. Fève
                                    Assistant United States Attorney
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